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Attorneys for the Debtors

                                                : UNITED STATES BANKRUPTCY COURT
In re:                                          : FOR THE DISTRICT OF NEW JERSEY
                                                :
SHAPES/ARCH HOLDINGS L.L.C., et                 : CHAPTER 11
al.,
                                                  CASE NO. 08-14631 (GMB)
                       Debtors.                   (Jointly Administered)

                                                  Hearing Date: July 28, 2008 at 10:00 a.m.

                NOTICE OF THE DEBTORS’ FIRST OMNIBUS OBJECTION
                TO DUPLICATE AND/OR REDUNDANT PROOFS OF CLAIM
         The above captioned Debtors and Debtors-in-Possession, by and through their

undersigned counsel, have filed an omnibus objection pursuant to Rule 3007 of the Federal Rules

of Bankruptcy Procedure to expunge duplicate and/or redundant proofs of claim (the

“Objection”).

         Your rights may be affected. You should read these papers carefully and discuss

them with your attorney, if you have one in this bankruptcy case. (If you do not have an

attorney, you may wish to consult one.)

         If you do not want the Court to grant the relief requested by the Movant, or if you want

the Court to consider your views on the Objection, then on or before July 21, 2008 you or your

attorney must:

         File with the Court an answer explaining your position at: Clerk, U.S. Bankruptcy Court,

U.S. Post Office & Courthouse Building, 401 Market Street, 2nd Floor, P.O. Box 2067 Camden,


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NJ 08101-2067. If you mail your response to the Court for filing, you must mail it early enough

so the Court will receive it on or before the date stated above.

        You must also mail a copy to:

        Jerrold N. Poslusny, Jr., Esquire, COZEN O'CONNOR, Liberty View, Suite 300, 457

Haddonfield Road, Cherry Hill, NJ 08002.

        Attend a hearing scheduled to be held on July 28, 2008 at 10:00 a.m. in Courtroom 4C,

United States Bankruptcy Court, Mitchell H. Cohen U.S. Courthouse, 400 Cooper Street, 4th

Floor, Camden, NJ 08101.

        If you or your attorney do not take these steps, the court may decide that you do not

oppose the relief sought in the Objection and may enter an order granting that relief.


Dated: June 20, 2008                          COZEN O’CONNOR

                                              By:       /s/ Jerrold N. Poslusny, Jr.
                                                    Mark E. Felger
                                                    Jerrold N. Poslusny, Jr.

                                                    Attorneys for the Debtors




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